         Case 21-03051 Document 58 Filed in TXSB on 10/25/23 Page 1 of 2
                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                          October 25, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                HOUSTON DIVISION


LUIS ALBERTO CASTANEDA and                           §                    CASE NO. 20-35854
ESTHER ALICIA CASTANEDA,                             §
      DEBTORS                                        §                           CHAPTER 7
                                                     §
MATTHEW MCCLUNG,                                     §
    Plaintiff                                        §
                                                     §
vs.                                                  §
                                                     §
LUIS ALBERTO CASTANEDA and                           §    ADVERSARY CASE NO. 21-03051
ESTHER ALICIA CASTANEDA,                             §
      DEBTORS                                        §

                          ORDER FOR TURNOVER OF PROPERTY
                                      (ECF No. 46)
       On this day come on for consideration the Motion for Turnover of Property from Luis
Alberto Castaneda and Esther Alicia Castaneda (the “Motion”) filed by Plaintiff and
Judgment Creditor, Matthew McClung in the above referenced bankruptcy case and after
considering the Motion and the exhibits thereto, the Court is of the opinion and finds that
the notice of the Motion was in all respects proper and no further notice is necessary, and that
the Motion is well taken and should be GRANTED. Accordingly, it is

            ORDERED ADJUDGED AND DECREED that the Motion is GRANTED.

       Further it is ORDERED ADJUDGED AND DECREED that Luis Alberto Castaneda and
Esther Alicia Castaneda shall turn over to Matthew McClung their claim immediately in 998
Qin Family I, LLC v United States (In re Upstream Addicks and Barker (Texas) Flood
Control Reservoirs, Case No. 1:18-cv-00855-CFL, US Court of Claims (“Upstream Claim”) or
the proceeds thereof when received in the amount of up to $137,500.00 plus interest at the
Federal post judgment rate of 0.544% (as of October 25, 2023).

       Further it is ORDERED ADJUDGED AND DECREED that if the proceeds of the
Upstream Claim are paid to counsel, Edwin Armistead “Armi” Easterby of Williams



Order for Turnover of Property of
Luis Alberto Castaneda and Esther Alicia Castaneda
McClung vs. Castanedas; Adversary No. 21-03051
Page 1 of 2
         Case 21-03051 Document 58 Filed in TXSB on 10/25/23 Page 2 of 2



Kherkher Hart Boundas, LLP or his firm, Mr. Easterby shall turnover to Matthew
McClung the Casteneda’s proceeds from their Upstream Claim when received.

        Further it is ORDERED that this turnover is subject to any homestead claims that the
debtors may make at the future date the turnover occurs. The Court retains jurisdiction to
enforce and interpret this order. The motion at ECF No. 52 is now moot.

                                                     ___________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE
                          October  25,2018
                            April 04,  2023


Approved to in form by:

JOHN AKARD, JR.
State Bar No. 00790212
COPLEN & BANKS, P.C.
11111 McCracken, Suite A
Cypress, TX 77429
Telephone: 832-237-8600
Telecopier: 832-237-2088
ATTORNEYS FOR MATTHEW MCCLUNG




Order for Turnover of Property of
Luis Alberto Castaneda and Esther Alicia Castaneda
McClung vs. Castanedas; Adversary No. 21-03051
Page 2 of 2
